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i) U.S. Depart” \nt of Justice
Drug Enforcement Administration

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Washington, D.C, 20537

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Chris Zimmerman, Director
Regulatory Compliance and
Security Services

Bergen Brusnwig Corporation
£000 Metropolitan Drive
Orange, CA 92868

Dear Mr. Zimmerman:

This is to grant approval of your request to implement on a
nationwide basis your newly developed system to identify and report
suaepicious orders for controlled substances and) requlated
chemicals, as recuired by Federal regulation, DEA managers who
have been involved with the testing of the system have relayed
their positive opinions regarding its ability to provide
information in a fashion which is not only usefal overall, but is
also responsive to the needs of individual DEA offices.

We appreciate the efforts you have undertaken to develop this
improved system and apologize for the lengthy approval process. It
did not seem appropriate to grant this approval) prior to the
conciusion of the Suspicious Crder Task Force formed as a result of
the Methamphetamine Controi Act. Thank you for your patience in
this matter.

Tf you have any questions, please do not hesitate to call at
{202} 207-7297.

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Liaison and Policy Section

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Liaison and Policy! Section
Office of Diversion Control

cc: DPMs, OD/D, ODK

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ope :
ODLP:McPaul dt: 7-20-98 Document Name: Doc3 . upd
ffe; 601-04-R2 (1301.74)
subject: approve suspicious order monitoring system. AM-WV-02658
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Confidential — Subject to Protective Order US-DEA-00025671

AM-WV-02658.00001
